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             8
                                       UNITED STATES BANKRUPTCY COURT
             9
                                       EASTERN DISTRICT OF CALIFORNIA
            10
            11
                 In re                                                  Case No. 13-90435
            12
                 Sean Afshin Amin,                                      Chapter 7 Case
            13
                       Debtor.                                          Adversary No. 22-09002
            14   _________________________________/
            15   David Elliott and Angelina Elliott,
            16           Plaintiffs,
            17   vs.
            18   Ellen Nevarez, Kevin Amin and Sean
                 Afshin Amin, individually and as owners
            19   of California Shade Inc. dba A-TEK
                 Window & Door, and Does 1 through
            20   20, inclusive,
            21         Defendants.
                 _________________________________/
            22
                                              ORDER FOR REMAND
            23
                         The Court, having considered the Stipulation for (1) Entry of Judgment on
            24
                 Counterclaim and (2) Remand of Complaint (the “Stipulation”) filed on March 14,
            25
                 2023 between “Kevin Amin and Sean Afshin Amin, individually and as owners of
            26
                 California Shade Inc. dba A-TEK Window & Door (the “Amin Defendants”) on the
            27

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             1   one hand and David Elliott and Angelina Elliott (the “Plaintiffs”) on the other hand,
             2   and
             3          The Court, having determined pursuant to Federal Rule of Civil Procedure
             4   54(c), applicable to adversary proceedings by Federal Rule of Bankruptcy Procedure
             5   7054, that resolution of the Amin Defendants’ claims that their bankruptcy discharges
             6   bar recovery by the Plaintiffs is separate and distinct from the Plaintiffs’ personal
             7   injury claims against a non-debtor defendant originally asserted in the Superior Court
             8   of California, Nevada County case number CU0000191 (the “Superior Court Case”),
             9   which was removed to this Court, and
            10          The Court, having determined that the claims of Plaintiffs David Elliott and
            11   Angelina Elliott alleged in the Superior Court Case have been discharged in the
            12   Chapter 7 cases of Kayvan Amin, also known as Kevin Amin (case number 12-
            13   92013) , and Sean Afshin Amin (case number 13-90435), and there is no longer a
            14   basis for this Court to exercise jurisdiction over the removed Superior Court Case,
            15          NOW, THEREFORE, IT IS ORDERED:
            16          1. Adversary proceeding number 22-09002 entitled “David Elliott and
            17   Angelina Elliott, Plaintiffs, vs. Ellen NevareZ, Kevin Amin and Sean Afshin Amin,
            18   individually and as owners of California Shade, Inc. Dba A-TEK Window & Door,
            19   and Does 1 through 20, inclusive, Defendants” is remanded to the Superior Court of
            20   California, Nevada County, for all further proceedings.
            21     Dated:
                       Dated: ___________________
                          March 15, 2023                    By the Court
            22
            23                                              __________________________________
                                                            Hon. Ronald H. Sargis
            24                                              United States Bankruptcy Judge
            25                                              Unit
            26
            27

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